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 DMP:AFM/AA                                              US DISTRICT COURT E.D.N.Y.
 F. #2022R00315                                          * JUNE 2 2023 *
                                                         BROOKLYN OFFICE
 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
                                        -X


 UNITED STATES OF AMERICA                               INDICTMENT


         - against -                                    Cr. No.23-CR-236
                                                        (T. 18, U.S.C.,§§ 371, 981(a)(1)(C),
 SAGAR STEVEN SINGH,                                     982(a)(2), 982(b)(1), 1028A(a)(l),
    also known as "Weep," and                            1028A(b), 1028A(c)(4), 1030(i)(l),
 NICHOLAS CERAOLO,                                       1030(0(2), 1349, 1512(c)(1), 1512(k),
    also known as "Convict," "Anon,"                     2 and 3551 ^s^.;T., 21, U.S.C.,
    "Plug Walk Killa" and "Ominous,"                     § 853(p); T. 28, U.S.C.,§ 2461(c))

                          Defendants.                    Judge Frederic Block
                                                         Magistrate Judge Marcia M. Henry
                                         X


 THE GRAND JURY CHARGES:


                                        INTRODUCTION


                       At all times relevant to this Indictment, unless otherwise indicated:

I.       The Defendants


                 1.    The defendant SAGAR STEVEN SINGH, also known as "Weep," was

 19 years old and resided in Pawtucket, Rhode Island.

                2.     The defendant NICHOLAS CERAOLO,also known as "Convict,"

"Anon,""Plug Walk Killa" and "Ominous," was 25 years old and resided in Queens, New

 York.


 II.     Background Regarding ViLE


                3.     The defendants SAGAR STEVEN SINGH, also known as "Weep," and

 NICHOLAS CERAOLO,also known as "Convict,""Anon,""Plug Walk Killa" and
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 "Ominous," were members of a cybercriminal group known as "ViLE." ViLE specialized

 in obtaining personal information about third-party victims, which its members then used to

 harass, threaten and extort victims, a practice known as "doxing." SINGH, CERAOLO and

 other members of ViLE used various methods to obtain victims' personal information,

 including tricking customer service employees, impersonating law enforcement, sending

 fraudulent legal process to social media companies to elicit users' registration information,

 coopting and corrupting corporate insiders, searching public and private online databases and

 accessing a nonpublic United States govermnent database without authorization.

                                          COUNT ONE
                          (Conspiracy to Commit Computer Intrusion)

                4.     The allegations contained in paragraphs one through three are realleged

 and incorporated as if fully set forth in this paragraph.

                5.     In or about and between April 2022 and May 2022, both dates being

 approximate and inclusive, within the Eastern District of New York and elsewhere, the

 defendants SAGAR STEVEN SINGH, also known as "Weep," and NICHOLAS

 CERAOLO,also known as "Convict,""Anon,""Plug Walk Killa" and "Ominous," together

 with others, did knowingly and willfully conspire to intentionally access a computer, without

and in excess of authorization, and thereby obtain information from a department or agency

of the United States, and the offense was committed in furtherance of criminal or tortious

 acts, contrary to Title 18, United States Code, Sections 1030(a)(2)(B) and 1030(c)(2)(B)(ii).

                6.     In furtherance of the conspiracy and to effect its objects, within the

 Eastern District of New York and elsewhere, the defendants SAGAR STEVEN SINGH, also

 known as "Weep," and NICHOLAS CERAOLO,also known as "Convict,""Anon,""Plug
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 alk Killa" and "Ominous," together with others, did commit and cause the commission of,

 among others, the following:

                                        OVERT ACTS


                      (i)     On or about May 7, 2022, SINGH used a usemame and

 password belonging to a police officer (the "Stolen Credential") to log into, without

 authorization, a nonpublic website maintained by a United States federal law enforcement

 agency whose purpose was to share intelligence from government databases with state and

local law enforcement agencies (the "Portal").

                      (ii)    On or about May 7, 2022, SINGH and CERAOLO

 communicated via a social media platform about the Stolen Credential and intrusion into the

Portal, with CERAOLO writing: "[t]his is an agent... were all gonna get raided one of these

days i swear."

                      (iii)   On or about May 8, 2022, SINGH wrote to CERAOLO on a

 social media platform:"Im going to jail. That fucking portal 1 accessed 1 shouldn't have

 been there. The shit 1 found on there. Im no gov official."

                      (iv)    On or about May 8, 2022, CERAOLO shared the Stolen

 Credential with others and discussed how to extract information from the Portal.

                      (v)     On or about May 9, 2022, SINGH wrote to an individual whose

identity is known to the Grand Jury ("Victim-1") that SINGH had "access to [] databases,

 which are federal" through which he could "request information on anyone in the US doesn't

 matter who, nobody is safe."

               (Title 18, United States Code, Sections 371 and 3551 et seq.l
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                                          COUNT TWO
                                   (Aggravated Identity Theft)

                7.     The allegations contained in paragraphs one through three are realleged

 and incorporated as if fully set forth in this paragraph.

                8.     In or about and between April 2022 and May 2022, both dates being

 approximate and inclusive, within the Eastern District of New York and elsewhere, the

 defendants SAGAR STEVEN SINGH, also known as "Weep," and NICHOLAS

CERAOLO,also known as "Convict,""Anon,""Plug Walk Killa" and "Ominous," together

 with others, during and in relation to an offense under Title 18, United States Code, Sections

 1030(a)(2)(B) and I030(c)(2)(B)(ii), did knowingly and intentionally transfer, possess and

use, without lawful authority, one or more means of identification of another person, to wit: a

login credential of a law enforcement officer, an individual whose identity is known to the

Grand Jury, knowing that the means of identification belonged to said person.

               (Title 18, United States Code, Sections 1028A(a)(I), 1028A(b), I028A(c)(4),

2 and 3551 et seq.)

                                        COUNT THREE
                                    (Wire Fraud Conspiracy)

               9.      The allegations contained in paragraphs one through three are realleged

and incorporated as if fully set forth in this paragraph.

                10.    In or about and between December 2021 and June 2022, both dates

being approximate and inclusive, within the Eastern District of New York and elsewhere, the

defendants SAGAR STEVEN SINGH,also known as "Weep," and NICHOLAS

CERAOLO,also known as "Convict,""Anon,""Plug Walk Killa" and "Ominous," together

 with others, did knowingly and intentionally conspire to devise a scheme and artifice to
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 defraud electronic service providers, and to obtain information by means of one or more

 materially false and fraudulent pretenses, representations and promises, and for the purpose

of executing such scheme and artifice, to transmit and cause to be transmitted by means of

 wire communication in interstate and foreign commerce, writings, signs, signals, pictures and

sounds, to wit: telephone calls and emails to representatives of the service providers and

emails and electronic communications to computer servers in the United States and

elsewhere, as well as other online communications, contrary to Title 18, United States Code,

Section 1343.


                (Title 18, United States Code, Sections 1349 and 3551 et seq.)

                                         COUNT FOUR
                              (Obstruction of Justice Conspiracy)

                11.    The allegations contained in paragraphs one through three are realleged

and incorporated as if fully set forth in this paragraph.

                12.    In or about and between March 2022 and July 2022, both dates being

approximate and inclusive, within the Eastern District of New York and elsewhere, the

defendant NICHOLAS CERAOLO,also known as "Convict,""Anon,""Plug Walk Killa"

and "Ominous," together with others, did knowingly, intentionally and corruptly conspire to

alter, destroy, mutilate and conceal, and attempt to do so, one or more records, documents

and other objects, to wit: data contained within one or more internet accounts, with the intent

to impair the object's integrity and availability for use in an official proceeding, to wit: a

Federal Grand Jury investigation in the Eastern District of New York, contrary to Title 18,

United States Code, Section 1512(c)(1).

                (Title 18, United States Code, Sections 1512(k) and 3551 et seq.)
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                                          COUNT FIVE
                                     (Obstruction of Justice)

                13.    The allegations contained in paragraphs one through three are realleged

 and incorporated as if fully set forth in this paragraph.

                14.    On or about March 14, 2023, within the Eastern District of New York

 and elsewhere, the defendant SAGAR STEVEN SINGH, also known as "Weep," together

 with others, did knowingly, intentionally and corruptly alter, destroy, mutilate and conceal,

 and attempt to do so, one or more records, documents and other objects, to wit: an Apple

iPhone 12, with the intent to impair the object's integrity and availability for use in an

 official proceeding, to wit: a Federal Grand Jury investigation in the Eastern District of New

 York.


               (Title 18, United States Code, Sections 1512(c)(1), 2 and 3551 et sea.i

                          CRIMINAL FORFEITURE ALLEGATION
                                      AS TO COUNT ONE


                15.    The United States hereby gives notice to the defendants that, upon their

 conviction of the offense charged in Count One, the government will seek forfeiture in

 accordance with Title 18, United States Code, Sections 982(a)(2) and 1030(i)(l), which

require any person convicted of such offense to forfeit any property constituting, or derived

from, proceeds obtained directly or indirectly as a result of such offense, and such person's

interest in any personal property that was used or intended to be used to commit or to

facilitate the commission of such offense, including but not limited to assets seized on or

 about May 11, 2022, September 8,2022 and March 14, 2023 in Pawtucket, Rhode Island and

 Queens, New York:

                       (i)     one Dell laptop with serial number JMQYZMl;
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                      (ii)     one Apple MacBook Pro with serial number C02TT1U3FVH3;

                      (iii)    one ASUS laptop with serial number G4N0CV19Y574178;

                      (iv)     one ASUS laptop with serial number H2N0CY004554065;

                      (v)      one Apple iPhone with IMEI number 356716085041888;

                      (vi)     one Hitachi hard drive with serial number
                               100807PBN401B7HTH35L;

                      (vii)    one Sandisk USB drive with serial number BN181226247B;

                      (viii) one Apple iPhone with serial number C7CCL3Z0N72J;

                      (ix)     one Toshiba laptop with serial number 3A085516Q;

                      (x)      one Trezor cryptocurrency wallet;

                      (xi)     one Apple iPhone with IMEI number 352904110592067;

                      (xii)    one Apple MacBook with serial number JP23D7TR64;

                      (xiii) one MSI laptop model number 9560NGW;

                      (xiv) one WD hard drive with serial number WCC4M5CNDE1;

                      (xv)     one Dell computer power supply with serial number 7DXDCS2;
                               and


                      (xvi) one card scanner with serial number B12009190041.

               16.    If any of the above-described forfeitable property, as a result of any act

 or omission of the defendants:


                      (a)      cannot be located upon the exercise of due diligence;

                      (b)      has been transferred or sold to, or deposited with, a third party;

                      (c)      has been placed beyond the jurisdiction of the court;

                      (d)      has been substantially diminished in value; or

                      (e)      has been commingled with other property which cannot be

 divided without difficulty;
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 it is the intent ofthe United States, pursuant to Title 21, United States Code, Section 853(p),

 as incorporated by Title 18, United States Code, Sections 982(b)(1) and 1030(i)(2), to seek

 forfeiture of any other property of the defendants up to the value of the forfeitable property

 described in this forfeiture allegation.

               (Title 18, United States Code, Sections 982(a)(2), 982(b)(1), 1030(i)(l) and

 1030(i)(2); Title 21, United States Code, Section 853(p))

                             CRIMINAL FORFEITURE ALLEGATION
                         AS TO COUNTS THREE. FOUR AND FIVE


                17.    The United States hereby gives notice to the defendants that, upon their

 conviction of any of the offenses charged in Counts Three, Four and Five, the government

 will seek forfeiture in accordance with Title 18, United States Code, Section 981(a)(1)(C)

 and Title 28, United States Code, Section 2461(c), which require any person convicted of

 such offenses to forfeit any property, real or personal, constituting, or derived from, proceeds

 obtained directly or indirectly as a result of such offenses including but not limited to assets

 seized on or about May 11, 2022, September 8, 2022 and March 14, 2023 in Pawtucket,

 Rhode Island and Queens, New York:

                       (i)     one Dell laptop with serial number JMQYZMl;

                       (ii)    one Apple MacBook Pro with serial number C02TT1U3FVH3;

                       (iii)   one ASUS laptop with serial number G4N0CV19Y574178;

                       (iv)    one ASUS laptop with serial number H2N0CY004554065;

                       (v)     one Apple iPhone with IMEI number 356716085041888;

                       (vi)    one Hitachi hard drive with serial number
                               100807PBN401B7HTH35L;

                       (vii)   one Sandisk USB drive with serial number BN181226247B;
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                     (viii) one Apple iPhone with serial number C7CCL3Z0N72J;

                     (ix)     one Toshiba laptop with serial number 3A085516Q;

                     (x)      one Trezor ciyptocurrency wallet;

                     (xi)     one Apple iPhone with IMEI number 352904110592067;

                     (xii)    one Apple MacBook witli serial number JP23D7TR64;

                     (xiii) one MSI laptop model number 9560NGW;

                     (xiv) one WD hard drive with serial number WCC4M5CNDE1;

                     (xv)     one Dell computer power supply with serial number 7DXDCS2;
                              and


                     (xvi) one card scanner with serial number B12009190041.

              18.    If any of the above-described forfeitable property, as a result of any act

or omission of the defendants:


                     (a)      cannot be located upon the exercise of due diligence;

                     (b)      has been transferred or sold to, or deposited with, a third party;

                     (c)      has been placed beyond the jurisdiction of the court;

                     (d)      has been substantially diminished in value; or

                     (e)      has been commingled with other property which cannot be

divided without difficulty;
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 it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p),

 to seek forfeiture of any other property of the defendants up to the value of the forfeitable

 property described in this forfeiture allegation.

               (Title 18, United States Code, Section 981(a)(1)(C); Title 21, United States

 Code, Section 853(p); Title 28, United States Code, Section 2461(c))


                                                                  A TRUE BILL




                                                                  FOREPERSON




 BREON PEACE
 UNITED STATES ATTORNEY
 EASTERN DISTRICT OF NEW YORK
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FORMDW>-34        No.
njN.85



                                 UNITED STATES DISTRICT COURT

                                                 EASTERN District of NEW YORK

                                                          CRIMINAL DIVISION


                                         THE UNITED STATES OF AMERICA



                   SAGAR STEVEN SINGH, also known as "Weep, and NICHOLAS CERAOLO,
                      also known as"Convict,""Anon,""Plug Walk Killa" and "Ominous,"
                                                                                            Defendants.



                                                        INDICTMENT
                      (T. 18, U.S.C., §§371, 981(a)(1)(C), 982(a)(2). 982(b)(1), 1028A(a)(i),
                   1028A(b), l028A(c)(4), 1030(i)(l), 1030(i)(2), 1349, 1512(c)(1), 1512(k),2and
                               3551 et seq.; T.. 21. U.S.C.. § 853(p); T. 28. U.S.C.. § 2461(c))
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                  Bail. S




                            Assistant U.S. Attorneys Alexander Mindlin and Adam Amir
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